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Soft Delete       Speaker Name             Specialty         City               State   Office Phone
              1 Avila, Fernando            ANES              San Antonio         TX     (210) 223-1181

              1 Bazargan, Sadaf            N                 Tampa               FL     (813) 903-4630

              1 Bennett, Steven            PMM               Greenwich           CT     (203) 863-3448

              1 Blinderman, Craig          PLM               Boston              MA

              1 Brownlow, Roy              ANES              Newnan              GA     (770) 252-7557

              1 Columbus, David            ANES, PAIN        New Port Richey     FL     (727) 846-7618

              1 Cook, David                N                 Cary                NC     (919) 460-5405

              1 Creighton, Christopher     ANES, PAIN        Saint Louis         MO     (314) 996-9100
                  D'Olimpio, James         IM, ONC, PCP      New Hyde Park       NY     (516) 734-8900


              1
                  Gallant, James           IM                Corvallis           OR     (541) 758-0766


              1
                  Gibbs, William           PAIN, PM, REHAB   Sprngfld Gdns       NY     (718) 969-7900
              1
                  Grant, Paul              ANES, PAIN        Fort Worth          TX     (817) 332-6092
              1
              1 Gruener, Daniel            P                 Jenkintown          PA     (215) 624-1300
                  Gudin, Jeffrey           PAIN, PMM         Englewood           NJ
              1
              1 Hedrick, William           PM, REHAB         Fort Wayne          IN     (260) 969-6202

              1 Huang, Charles             PMD               Wellington          FL     (561) 791-1141

              1 Jahani, Sam                IM                Delta               CO     (970) 874-9977

              1 Jones, Byron               PM, PMM, REHAB    Lakewood            CO     (303) 985-4703
                  Litman, Steven           ANES, PAIN        Bay Shore           NY     (631) 665-0075
              1
              1 Martin-Davis, Nicholette   PAIN, PM, REHAB   Washington          DC     (301) 860-0305
                  McMillen, James          IM, RHU           Mechanicsburg       PA     (717) 766-7300
              1
              1 Melvin, Eugene             ANES, PAIN        Orlando             FL     (407) 649-7800

              1 Michna, Edward             PAIN              Chestnut Hill       MA     (617) 732-9060

              1 Miliman, Angela            FM, PAIN          BALTIMORE           MD

              1 Mueller, Scott             FM                Mechanicsburg       PA     (717) 791-2560

              1 Muresan, Carmen            PAIN              Miami               FL     (217) 413-1116

              1 Nasef, Sherif              RHU               Lake Havasu City    AZ     (928) 854-4400

              1 Perdikis, George           NS, PAIN          Lancaster           CA     (661) 940-5155

              1 Pociask, Stephen           PMD               Charlotte           NC     (704) 512-4469
                  Radnovich, Richard       FSM, UNK          Boise               ID     (208) 939-2100
              1
              1 Ross, Edgar                ANES              Chestnut Hill       MA     (617) 732-9060

              1 Saxton, Ernestina          N                 Los Angeles         CA     (310) 556-0765

              1 Schneider, Jennifer        IM                Tucson              AZ     (520) 721-7886

              1 Somerville, Judson         ANES, PMD         Laredo              TX     (956) 717-2962

              1 Sun, Kenneth               PAIN              Wind Gap            PA     (610) 863-8598
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         Tyler, John         PAIN, PM, REHAB   Colorado Springs   CO   (719) 599-5753
     1
         Vrablik, Robert     PMD               DOVER              NJ   (973) 989-3123
     1
     1 Whitten, Thomas       PAIN, PMM         Greensburg         PA   (724) 600-0607

         Abebe, Sheila                         Indianapolis       IN
         Ahmad, Mahmood      ANES              Sherwood           AR   (501) 834-7246
         Akbik, Hammam       ANES              West Chester       OH   (513) 584-0909
         Alhaj, George       ANES, PAIN        Oklahoma City      OK   (405) 620-4900
         Anderson, Wayne     N                 San Francisco      CA   (415) 558-8584
         Arbuck, Dmitry      P, PAIN           Carmel             IN   (317) 814-1000
         Aronoff, Gerald     PAIN, PMM         Charlotte          NC   (704) 347-3447
         Azevedo, Michael    IM, PM            Fresno             CA   (559) 325-3070

         Baylor, George      PAIN              Roanoke            VA
         Behravan, Darien    ANES, PAIN        San Leandro        CA   (510) 614-9200




         Bennett Daniel      ANES              Westminster        CO   (303) 487 0932

         Biskup William      AM ANES PAIN      Hamilton           NJ   (609) 890 4080

         Black Matthew       ANES PAIN         Naples             FL   (239) 263 5501
         Bowman Richard      ANES PM REHAB     Charleston         WV   (304) 347 6120
         Boyd Scott          PAIN PMD          Lafayette          CO   (303) 926 7360

         Brennan Michael     PM REHAB          Fairfield          CT   (203) 255 6780
         Brown Paul          RHU               Seattle            WA   (206) 587 0693
          ampo Salvatore     ANES GP           Dallas             TX   (214) 324 1442

          anlas Bernard      ANES              Jacksonville       FL   (904) 306 9860
          arter Mary         AM PAIN           Syosset            NY   (516) 496 6475

          ouch John          PAIN PMM          Mobile             AL   (251) 478 4900
          rowley Henry       ANES              Fall River         MA   (508) 672 2290
         Dodenbier Cindie    PMD               Ogden              UT
         Edmondson Everton   N Other           Houston            TX   (713) 797 1180
         Ellias Mazin        PAIN PMD          Wausau             WI   (715) 847 2408


         Epstein, Lawrence   ANES              White Plains       NY   (914) 289-1507
         Fanto, Steve        PM, REHAB         Scottsdale         AZ   (480) 502-0250
         Ferraro, Connie     ONC               Independence       OH
         Fisher, Philip      PAIN, PM, REHAB   Barboursville      WV   (304) 736-2981
         Freedman, Gordon    ANES, PAIN        New York           NY   (212) 288-2180

         Frey, Michael       PM, REHAB         Fort Myers         FL   (239) 437-8000
         Gaither, James      PUD               Indianapolis       IN   (317) 849-8222
         Gatz, Bart          ANES, PMM         Boynton Beach      FL   (561) 369-7644
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      Gerber, Marc          PAIN, PM, REHAB   Orlando                 FL   (407) 822-8875
      Granick, Joel         MEONC             Burlington              WI   (847) 872-6419
      Grove, Julian         ANES, PAIN        Phoenix                 AZ   (480) 222-7246
      Guarino, Anthony      ANES, PAIN        Saint Louis             MO   (314) 996-8891
      Haider, Nameer        PAIN, PM, REHAB   Utica                   NY   (315) 733-1384
      Hoffberg, Howard      PM, REHAB         Owings Mills            MD   (410) 363-7246




      Hussey, Desmond       N                 Naples                  FL   (239) 649-8833
      Hymes, Jayson         ANES              Beverly Hills           CA   (310) 657-6300
      Irwin, Bruce          ANES              Libertyville            IL   (847) 549-1609
      Johnson, Benjamin     PM, PMD           Hermitage               TN   (615) 872-9966
      Jones, Dwayne         ANES, PAIN        Shawnee                 KS   (913) 322-6370
      Jorgensen, Douglas    PMD               Manchester              ME   (207) 622-4500
      Kefer, Catherine      ONC               Springfield        IL


      Kelly James           ANES UNK          Kankakee                IL   (815) 932 7246
      Kesten Jeffrey        PM REHAB          Golden                  CO   (303) 277 0700
      Kizelshteyn Grigory   ANES              West Harrison           NY   (914) 289 1507
      Knab John             ANES PAIN         Wilmington              NC   (910) 442 1200
      Laham Riad            ANES              Kirtland Hills          OH   (440) 449 7246
      Le Son                PM REHAB          Hermitage               TN   (615) 872 9966
      Leal Liza             FM PAIN           Sugar Land              TX   (281) 265 6565
      Leo Paul              ANES              Thornton                CO   (303) 286 5067
      Lopez Nichole         FM PAIN           Rockville Centre        NY   (516) 764 7246
      Morales Alfonso       FM PAIN           Saint Paul              MN   (651) 644 6002
      Moufawad Sami         PAIN              Bedford                 OH   (440) 786 9886
      Mulder John           FM                Grand Rapids            MI   (616) 235 5100
      Nalamachu Srinivas    IM PM             Overland Park           KS   (913) 599 2440




      Nath Heather          ANES PAIN         Portage                 IN   (219) 921 1444

      Nolan Joseph          ANES PAIN         Charleston              SC   (843) 797 3636
      Ong Robert            ANES              Elkhorn                 WI   (262) 741 2326
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      Panjabi, Ravi          ANES, PAIN       Castro Valley               CA   (510) 582-8555




      Passik, Steven         P                New York                    NY   (646) 888-0022


      Pendergrass Susan      PMD              Columbia                    MO   (573) 999 7284
      Pierce Jeff            PM REHAB         Troy                        MI   (248) 680 9000
      Reinking Jeffrey       PM REHAB         Auburn                      CA   (530) 888 1118
      Reusswig Peter         ANES             Thornton                    CO   (303) 286 5066
      Rhiner Michelle        AM               Alta Loma                   CA   (909) 319 1603




      Rho James              PAIN             Rancho Cucamonga            CA   (909) 931 7246

      Rivera Weiss Michael   ANES PAIN        Carrollton                  GA   (770) 812 5720
      Rosenberg Jerrold      PM REHAB         Providence                  RI   (401) 453 5030
      Rosenblum Stuart       ANES             Portland                    OR   (503) 517 3785
      Rosenfeld David        ANES             Starkville                  MS   (662) 615 2970
      Ruan Xiulu             PAIN             Mobile                      AL   (251) 478 4900
      Scheuermann Julie      AM PAIN          Stony Brook            NY


      Schou, Michael         PAIN, PMD        Miami                       FL   (305) 835-6000
      Shaiova, Lauren        PM, REHAB        New York                    NY   (212) 423-6491

      Shurman, Joseph        ANES             La Jolla                    CA   (858) 565-9666
      Simon, Steven          PM, REHAB        Overland Park               KS   913 599 2440
      Singh, Manish          N                Cape May Court House        NJ   (609) 465-7780

      Sobel, Richard         P                Philadelphia                PA   (215) 731-1901

      Sorensen, Raymond      ANES, PAIN       Tulsa                       OK   (918) 496-5195




      Soriano, Edward        PM, PMD, REHAB   Baltimore                   MD   410-601-6597
      Spagnoletti, Louis     PM, REHAB        Marlton                     NJ   (856) 983-9001

      Sparks, Lisa           PAIN, PMM        Phoenix                     AZ   602-993-2959
      Spector, Paul          FM, PAIN, PMD    Richmond                    VA   (804) 320-8570
      Spinelli, Kim          PAIN             Colorado Springs       CO


      Stewart David          ANES             Snellville                  GA   (770) 982 3661
      Stone Carissa          PMD              Tampa                       FL   (813) 877 6191
      Stoner J Fred          PTH              New Castle                  PA   (724) 658 6367
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      Tham, William          IM, PM          Annapolis            MD   (410) 266-2700




      Trimarco Donna         AM ANES PAIN    Setauket        NY


      Valenza, Joseph        PM, REHAB       Chester              NJ   (973) 252-6402
      Vallerand, April       PAIN            Detroit         MI


      Waghmarae Romanth      ANES PAIN       Buffalo              NY   (716) 446 5900
      Weingarten Alexander   PAIN            Syosset              NY   (516) 496 4964

      Wellington Joshua      ANES PM REHAB   Indianapolis         IN   (317) 274 5901
      Wik Daniel             PM REHAB        Omaha                NE   402 391 7246

      Wilensky Bonnie        PAIN            Boulder              CO   (303) 441 0409
      Wolf Marcia            PM REHAB        Pikesville           MD   (410) 484 2855

      Zimmerman Amanda       PAIN            Winston Salem   NC
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AMFE Territory   Fentora Class            Fentora Programs
  81160000       National                         0
  81140000       Local                           0
  81110000       Local                           0
  81110000       Local                           1
  81140000       Regional                        0
  81140000       Regional                        1
  81130000       Regional                        0
  81170000       Local                           0
  81110000       Regional                        1




  81180000       Local                           1




  81110000       Local                           0

  81160000       Local                           1

  81110000       National                        0
  81110000       National                        0

  81150000       Local                           0
  81140000       Regional                        0
  81170000       Local                           0
  81170000       Regional                        10
  81110000       Local                           1

  81130000       Regional                        0
  81110000       National                        19

  81140000       Local                           2
  81110000       Regional                        0
  81130000       National Non-Physician          0
  81110000       Local                           0
  81140000       Local                           3
  81170000       Regional                        0
  81180000       Local                           3
  81130000       Regional                        0
  81170000       Regional                        0

  81110000       Regional                        0
  81180000       Local                           0
  81170000       Regional                        0
  81160000       Local                           0
  81110000       Local                           1
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 81170000   Regional                 0

 81110000   Local                    0

 81120000   Regional                 1

            National Non-Physician
 81160000   Local                    2
 81120000   Regional                 3
 81160000   Regional                 0
 81180000   National                 37
 81150000   National                 9
 81130000   National                 2
 81180000   Regional                 0

 81130000   Regional                 6
 81180000   Local                    0




 81170000   National                 0

 81110000   Regional Non Physician   1

 81140000   Regional                 1
 81130000   Regional                 5
 81170000   Regional                 1

 81110000   National                 0
 81180000   Regional                 20
 81160000   Local                    0

 81140000   Regional                 5
 81110000   National Non Physician   6

 81140000   Regional                 0
 81110000   Local                    4
 81170000   Regional Non Physician   4
 81160000   Local                    7
 81150000   Regional                 1


 81110000   Regional                 1
 81170000   Regional                 0
                                     7
            National Non-Physician
 81130000   Local                    2
 81110000   Regional                 6

 81140000   Local                    5
 81150000   Local                    0
 81140000   National                 6
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 81140000   National                 8
 81150000   Regional                 0
 81170000   Regional                 16
 81170000   National                 23
 81110000   Local                    5
 81130000   Regional                 0




 81140000   Local                    4
 81180000   Regional                 0
 81150000   Regional                 0
 81120000   Local                    6
 81170000   Regional                 2
 81110000   Regional                 3
            National Non-Physician   1


 81150000   Local                    0
 81170000   Regional                 11
 81110000   Local                    0
 81130000   Regional                 10
 81120000   National                 25
 81120000   Regional                 1
 81160000   Local                    0
 81170000   Regional                 0
 81110000   Local                    3
 81150000   Regional                 1
 81120000   Regional                 1
 81150000   Regional                 0
 81170000   National                 27




 81150000   Local                    0

 81130000   Local                    1
 81150000   Local                    0
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  81180000   Local                    0




  81110000   National                 2


  81170000   National Non Physician   6
  81150000   Regional                 1
  81180000   National                 3
  81170000   Regional                 0
  81180000   National Non Physician   1




  81180000   Local                    0

  81120000   Regional                 3
  81110000   Regional                 0
  81180000   Regional                 8
  81160000   Local                    2
  81140000   Regional                 3
             Regional Non Physician   5


  81140000   Regional                 2
  81110000   National                 4

  81180000   Regional                 0
  81170000   National                 2
  81110000   Regional                 1

  81110000   Regional                 5

  81160000   Local                    0




  81130000   National                 7
  81110000   National                 8

  81170000   Regional                 0
  81130000   National                 4
             National Non-Physician   2


  81130000   Regional                 7
  81140000   Regional                 10
  81120000   Regional                 0
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  81130000   Local                    2




             Regional Non Physician   0


  81110000   National                 22
             National Non-Physician   3


  81120000   National                 21
  81110000   Local                    2

  81150000   National                 16
  81170000   Local                    0

  81170000   Regional Non Physician   4
  81130000   Regional                 5

             Local Non Physician      2
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                        Comments from field 11/23/10                                    Amrix Class   Amrix Programs
                                                                                                                0
                                      REMOVE                                                                   0
                                                                                                               0
                                                                                                               0
                                                                                        Regional               0
                                      REMOVE                                                                   0
                              Speaker can be deleted                                                           0
                                                                                                               0
Discontinue. Even though he is one of a few Fentora speakers that is an oncologist                             0
    the hospital he works for sees a conflict of interest when he is involved with
           industry. I don’t think he will be able to speak in the future.

New speaker, keep in systemS; DR. Gallant should remain on the speakers bureau.                                0
   Although an IM physician, he has good experience with Fentora and is able to
articulate the benefits of Fentora to his audience very well. He will be used in 2011

 Should continue. Just got approved to start speaking on Oct. He will be utilized Local                        5
                                    next year.
Keep on the bureau as he is the only local speaker for the two Ft. Worth territories.                          0

                                   Ok to remove                                                                0
Discontinue. I know he is a national speaker but it seems most pain management National                        1
                          doctors are burnt out on him.
                                      delete                                                                   0
                                      REMOVE                                                                   0
                                                                                                               0
                                                                                                               0
    Discontinue. Not very outgoing and not especially well liked by other pain                                 0
                          management practitioners.
                                                                                                               0
    Good speaker utilized by many TSS's on East Coast. Continue on bureau.              National               8

                                      REMOVE                                                                   0
                                                                                                               0
                                   Ok to remove                                                                0
                                   Ok to remove                                                                0
                                      REMOVE                                                                   0
                                                                                                               0
                                                                                                               0
                              Speaker can be deleted                                                           0
 Should not remain on Bureau. Although knowledgeable, he does not present the Regional                         0
                 information well. He would not be used in 2011
                                                                                                               0
                                                                                                               0
                                                                                                               0
                                                                                                               0
                                   Ok to remove                                                                0
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 Has not been used buy only speaker in south CO territory. Rep would like to keep                        0

Discontinue. It has been indicated to me that this physican may not want to speak                        0
                                     anymore.
                                  Ok to remove                                                           0


                                                                                                         0
                                       Keep                                                              0
                                                                                                         0
                                                                                        National         8
                                                                                        National         0
                                                                                        National         7
YES - Mike would like to use this speaker throughout his territory next year. He is                      0
              well-respected and skilled with opioids and Fentora.
                                                                                                         0
  Dr. Beharivan was re-added to the speakers bureau in early 2010 and then the                           0
representaitve transferred to a different division. I have not had the opportunity to
hear him speak and evaluate. I would like to keep him on the speakers bureau for
                  2011 in order to be able to utilize and evaluate.

 has done several studies w fentora very personable and would be a good option                           0

 Should continue The only knowledgeable and influencial speaker in the Trenton                           0
                                    area
          Matthew Black should remain on our speaker bureau in 2011                                      0
                                       Keep                                             Regional         4
   can do a good job for specific audiences opinionated but very knowledgable           Regional         0

                                                                                                         0
                                                                                        National         12
Keep on the bureau He is a decent local speaker for programs in and around the                           0
                                 Dallas area.
         Bernard Canlas should remain on our speaker bureau in 2011                                      0
Should continue Excellent knowledgeable speaker with great connections to other National Non Physician   3
                      NP's that practice pain management
                                                                                                         0
                                                                                                         0
                                                                                                         0
                                                                                                         0
  Has relationships with many Pain targets in Central WI and can continue as a    Regional               3
speaker. He is a thought leader and respected speaker in this area for both Amrix
                                  & Fentora.
                                                                                                         0
               YES - Liz plans on using him for local talks next year.                                   0


                                       Keep                                                              0
Should continue. Good speaker with the ability to attract other pain management Regional                 1
                           doctors to his programs
          Michael Frey should remain on our speaker bureau in 2011.                                      0
                                                                                                         0
             Bart Gatz should remain on our speaker bureau in 2011.                     National         6
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            Marc Gerber should remain on our speaker bureau in 2011.               Local      0
              Moved to Arizona. Could be a good oncology speaker.                             0
                                                                                   Regional   7
                                                                                   National   11
                                                                                              0
 Was not used due to territory vacancy. Continue on bureau. Full CV in Cogenix.    Regional   6

              Board Certified in Physical Medicine and Rehabilitation

                 Board Certified in Pain Medicine – February 1999
                        Recertified Mar 7, 2009 until 2019

           Fellow, American Academy of Pain Medicine (2003 - present)

      Board Certified American Board of Physical Medicine and Rehabilitation,

        Pain Medicine subspecialty – Sept. 2003 (valid until Dec. 31, 2013).




         Desmond Hussey should remain on our speaker bureau in 2011.                          0
                                                                                              0
                 Product experience, good speaker, local speaker                              0
                                                                                              0
                                                                                   Regional   0
                                                                                              0
Trained On: (Fentora) New Dimensions in Pain Dialogues - Allied Health Deck


                                                                                              0
                                                                                   Regional   4
                                                                                              0
                                                                                   Regional   1
                                       Keep                                        National   30
                               Yes keep as speaker                                            0
                                                                                              0
                          very knowledgable on fentora                                        0
                Should continue Very good even handed speaker                                 0
                                                                                              0
                                       Keep                                        Regional   5
                                                                                              0
despite the fact that Dr Nalamachu has recently done many programs he is not a National       23
  very strong speaker. He does not have an active practice at this time ( mainly
     research) and has not been impressive during the teleconference series

Should be kept as she is a good speaker and will probably be used more next year              0

                                                                                              0
                          Decent speaker local speaker                                        0
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He did not speak in 2011, but this could be due to not having a rep in the territory                0
for the second half of 2011. I would suggest keeping him on the bureau for 2011
       in order to have the opportunity to utilize and evaluate as a speaker.

Should continue. One of our best speakers. Should be utilized more and he will be                   0
if we decide to implement abuse, addiction, and diversion programs again, which I
                             definitely recommend
                                                                                                    0
                                        Keep                                             Regional   3
                                                                                                    0
                                                                                                    0
  I am not familiar with Michelle Rhiner as she is being used by Sci Medica for the                 0
   Nursing professionals program in Redwood City. Meghan will be attending this
             program and will be able to provide feedback at that time.

YES We plan on using this speaker next year and would like to keep him as a local                   0
                        speaker for the inand empire.
       He has moved back to Ohio and is now in Mike Morreale s Area               Regional          0
                                                                                         Regional   12
                                                                                                    0
                                                                                                    0
                                                                                         Regional   0
Trained On (Fentora) New Dimensions in Pain Dialogues Allied Health Deck


           Michael Schou should remain on our speaker bureau in 2011.                    Regional   1
 Should continue. Not a great speaker in the classic sense but is very influencial in               0
                   the local and national pain management arena
       YES - He is a national thought leader and Tony would like to use him.                        0
                                                                                         National   1
   Should continue. The only good speaker in South Jersey. Is well respect and                      0
                                     experienced.
   Associate Clinical Professor at Jefferson Health System. Continue on bureau.                     0

I think Dr. Sorensen should stay on the speakers panel for at least one more year.                  0
Due to the political nature of the pain management groups in Tulsa, it is difficult to
take a local pain doctor into another pain doctor's office. It is, however, helpful to
have a local speaker available to speak to primary care physicians, especially if we
           need a local speaker to potentially roll out the REMS program.


                                                                                         National   8
Should continue. Good speaker in the south western part of NJ where there is not National           1
                                    a lot of them
                 YES - Liz will like to use this speaker for REMS                Regional           0
                                                                                         National   4
Trained On: (Fentora) New Dimensions in Pain Dialogues - Allied Health Deck


                                                                                         Regional   0
            Carissa Stone should remain on our speaker bureau in 2011                    Regional   4
 FENTORA speaker being utilized in Pittsburgh and surrounding cities 3 programs Regional            0
 just booker for December 2010. 3 programs cancelled in October 2010. Also will
                   travel to West Virginia. Continue on bureau.
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   Dr. Tham is Board Certified in PM&R after attending Albert Einstein College of                   0
 Medicine in New York. He has an undergraduate degree in Psychology which adds
to expertise in working within pain medicine. Dr. Tham founded PMPMA in 1994. He
    has participated as a member of the Alternative MEDICINE Program Advisory
 Council for the National Institute of Health, as well as other community initiatives.

Good speaker. 2 programs being booked for December 2010. Was not utilized due
                   to territory vacancy. Continue on bureau.


Trained On (Fentora) New Dimensions in Pain Dialogues Allied Health Deck


          Should continue. One of our most valuable speaking resources.                  National   16
Trained On: (Fentora) New Dimensions in Pain Dialogues - Allied Health Deck


                                                                                         National   9
 Should continue Influencial local speaker NY pain doctors love to hear what he                     0
                                    has to say.
                                                                                                    0
Understands REMS better than most Speaks for several other companies marginal                       0
                           credibility with physicians.
                                                                                                    0
Good speaker for Mid Atlantic Area Director of Mid Atlantic Pain Society Continue                   0
                                   on bureau.
Trained On (Fentora) New Dimensions in Pain Dialogues Allied Health Deck &
(Fentora) Fentora for Breakthrough Pain in Patients with Cancer
  Case: 1:17-md-02804-DAP Doc #: 2251-92 Filed: 08/13/19 17 of 24. PageID #: 352308




* Total Programs   YTD Honoraria           Add Date
            0                      $0.00       12/11/2006
          0                        $0.00        2/13/2006
          0                        $0.00        6/18/2009
          1                  $1,000.00          7/17/2008
          0                        $0.00        10/1/2010
          1                  $1,500.00           1/4/2006
          0                        $0.00       10/16/2006
          0                        $0.00         3/4/2008
          1                  $1,500.00           1/1/2004




          1                  $1,000.00           1/1/2004




          5                  $5,000.00          6/18/2010

          1                  $1,000.00          8/17/2005

          0                        $0.00        11/2/2009
          1                  $1,900.00           1/1/2004

          0                        $0.00       10/16/2006
          0                        $0.00        10/6/2006
          0                        $0.00         1/2/2008
          10                $12,800.00         10/26/2006
          1                  $1,000.00          3/21/2007

          0                        $0.00        1/29/2007
          27                $47,650.00           1/1/2004

          2                  $2,000.00          6/18/2009
          0                        $0.00       10/16/2006
          0                        $0.00         9/7/2010
          0                        $0.00         7/3/2008
          3                  $3,000.00           7/7/2009
          0                        $0.00         4/5/2007
          3                  $2,750.00           1/1/2004
          0                        $0.00        2/28/2007
          0                        $0.00         7/3/2008

          0                        $0.00        3/21/2006
          0                        $0.00        8/17/2006
          0                        $0.00         1/1/2004
          0                        $0.00       10/26/2006
          1                  $1,000.00          7/26/2007
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     0                    $0.00     10/9/2006

     0                    $0.00     3/16/2007

     1                 $1,500.00     1/1/2004


     2                 $2,000.00   10/16/2006
     3                 $4,500.00    5/20/2005
     0                    $0.00     5/25/2006
     45               $82,300.00    5/25/2006
     9                $15,900.00     1/2/2008
     9                $10,950.00     1/1/2004
     0                    $0.00     5/25/2006

     6                 $9,000.00    7/23/2004
     0                    $0.00      4/9/2010




     0                    $0 00     5/25/2006

     1                 $1 500 00    3/22/2010

     1                 $1 500 00     1/1/2004
     9                $13 500 00    2/10/2006
     1                 $1 500 00    3/22/2007

     0                    $0 00      7/3/2007
     32               $57 600 00    4/30/2009
     0                    $0 00    10/18/2006

     5                 $7 500 00     1/1/2004
     9                $11 500 00     9/9/2010

     0                    $0 00    10/19/2006
     4                 $4 000 00     5/2/2006
     4                 $3 000 00     3/2/2005
     7                 $6 750 00     6/2/2010
     4                 $6 000 00    5/30/2007


     1                 $1,500.00     4/9/2007
     0                    $0.00      1/1/2004


     2                 $2,000.00    3/31/2009
     7                $10,500.00    2/10/2006

     5                 $5,000.00    6/11/2008
     0                    $0.00      1/7/2008
     12               $17,800.00    2/26/2007
Case: 1:17-md-02804-DAP Doc #: 2251-92 Filed: 08/13/19 19 of 24. PageID #: 352310



     8                $15,200.00    10/5/2010
     0                    $0.00    11/28/2007
     23               $35,000.00   10/18/2006
     34               $60,200.00     1/1/2004
     5                 $5,000.00    6/24/2009
     6                 $9,000.00   10/16/2006




     4                 $4,000.00    9/12/2008
     0                    $0.00     4/23/2007
     0                    $0.00    11/10/2004
     6                 $5,750.00     1/1/2004
     2                 $3,000.00    10/6/2010
     3                 $4,500.00     3/1/2005




     0                    $0 00      1/1/2004
     15               $21 000 00    9/20/2010
     0                    $0 00      1/1/2004
     11               $15 650 00    9/27/2010
     55               $87 850 00     1/1/2004
     1                 $1 500 00   12/12/2006
     0                    $0 00    10/26/2006
     0                    $0 00     6/13/2007
     3                 $3 000 00    1/11/2006
     1                 $1 500 00     6/4/2007
     6                 $9 000 00    10/6/2006
     0                    $0 00     4/11/2006
     50               $74 800 00     1/1/2004




     0                    $0 00     11/5/2009

     1                 $1 000 00     6/8/2010
     0                    $0 00     2/19/2007
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     0                    $0.00     3/26/2007




     2                 $3,400.00   10/11/2004


     6                 $7 500 00     9/9/2010
     4                 $6 000 00    9/16/2004
     3                 $5 700 00    9/24/2008
     0                    $0 00      1/1/2004
     1                 $1 000 00     9/7/2010




     0                    $0 00    11/27/2007

     3                 $4 500 00    10/5/2010
     12               $14 500 00     6/1/2005
     8                 $9 800 00     1/1/2004
     2                 $2 000 00     7/7/2009
     3                 $4 500 00    6/11/2009




     3                 $4,500.00   10/23/2006
     4                 $7,200.00     1/1/2004

     0                    $0.00     7/27/2007
     3                 $5,700.00     7/3/2007
     1                 $1,500.00    7/20/2005

     5                 $7,500.00     1/2/2008

     0                    $0.00     5/25/2006




     15               $28,100.00     1/1/2004
     9                $17,100.00     1/1/2004

     0                    $0.00      1/1/2004
     8                $14,800.00     1/1/2004




     7                $10 000 00    10/9/2007
     14               $21 000 00     8/3/2004
     0                    $0 00     10/5/2010
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     2                 $2,000.00   10/16/2006




     38               $66,000.00     1/1/2004




     30               $53 050 00     1/1/2004
     2                 $2 000 00     3/5/2010

     16               $28 800 00   10/16/2006
     0                    $0 00      8/4/2008

     4                 $5 250 00    8/16/2005
     5                 $7 500 00     4/8/2009
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Speaker Name            Specialty     City           State   Office Phone     AMFE Territory                                                                    Comments
Basu, Sanghamitra       PMD                          NV
                                                                                                      Dr. Sanghamitra is respected in the pain management specialty in Las Vegas. She is willing to conduct programs locally and we
                                      Las Vegas                                                                                               currently do not have a speaker in this market.
Dr Phillip Matthews     PMD                          WA
                                      Bellvue
Halter, Mitchell        PMD                          AZ
                                                                                                  Dr. Halter is a respected pain management professional in Tucson and is skilled with opioids. We would use him for Tucson-based lunch
                                      Tuscon                                                                                                                 and dinner CSPs.
Joshi Jay               PMD                          IL
                                                                                                   Dr. Joshi is currently a National Speaker for Amrix. He is able and willing to travel around the Midwest, which does not have a lot of
                                                                                                   speakers. He has done National training for Amrix and would be a very valued speaker to have in Illinois as Dr. Irwin is likely on the
                                                                                                                                                      physically unable to perform list.
Kabazie, Abraham J      Pain          Pittsburg      PA      412-578-5635                           Chief, Division of Pain Medicine The Western Pennsylvania Hospital & The Western Pennslyvania Hospital Forbes Regional Campus
                                                                                                                               Medical Director, The Western Pennsylvania Hospital Institute for Pain Medicine



Karver Sloan                          Tampa          FL
Lee, Marion                           Tifton         GA
Leonard-Burns, Sophia   Pain          Annapolis      MD      410-266-2700                                          Physician Assistant specializing in the pain management treatment of acute, chronic, and cancer pain.
                                                                                                                                                  American Academy of Physician Assistants
                                                                                                                                                  Maryland Academy of Physician Assistants
                                                                                                                                                 National Commission on Certification of P.A.
                                                                                                                                                            State of Maryland - PA
Levy, Michael           ONC Pain      Phildelphia    PA      215-728-3544                                                                           Vice Chairman, Medical Oncology;
                                                                                                                         Director, for Fox Chase Cancer Center. Top doctors 2010 Medical Oncology/ Cancer Pain.
                                                                                                                                                              Fellowship:
                                                                                                                                      Hematology-Oncology, Hospital of the University of Pennsylvania

                                                                                                                                                             Certifications:
                                                                                                                                                  American Board of Internal Medicine:
                                                                                                            Internal Medicine, Medical Oncology, Hospice and Palliative Care; American Board of Hospice and Palliative Medicine



Mcnamee, Sheila (NP)    Anesth/Pain   Wilimington    NC      (719) 599-5753            81170000                                                          Potential addition for 2011

Miguel, Rafael                        Brandon        FL
Nicholson, Bruce        Pain          Allentown      PA      610-402-1756                          The Director of Pain Specialists of Greater Lehigh Valley. He is the Medical Director for the Division of Pain Management, Lehigh Valley
                                                                                                    Hospital and Health Network. He is a Clinical Associate Professor at Penn State's College of Medicine at Hershey Medical Center. Dr.
                                                                                                              Nicholson is Board Certified in anesthesiology and pain management by the American Board of Anesthesiology.


O'laughlin, Thomas      PMD                          CA                                            Dr. O'laughlin is very skilled with opioids and fentora. He is a well-respected pain management specialist and Mike needs a speaker in
                                      Fresno                                                                                                        the Fresno/Bakersfield area for next year.
O'Neill, Paul           PCP                          AZ                                           Dr. O'Neill is actually an Oncologist and not a PCP. He is a great fit in the Havasu and Vegas markets and would be a welcome speaker
                                      Lake Havasu                                                                                                                in Oncology.
Pagano Joseph                         Tallahassee    FL
Raymond Bedell          Anes, PMD                    UT
                                      Providence
Rubino, Daniel T.       Pain          Devon          PA      610-688-8580                                            Pain Management Specialist affiliated with Main Line Health system hospitals and cancer cenetrs.
Scharlach, Randall      Onc                          CA                                              Dr. Scharlach is an Oncologist that has considerable experience with Fentora. We are in need of an Oncology speaker in Southern
                                      Santa Monica                                                                                  California and would like to use him next year for our Oncology CSPs.
Tisdall, William        Anes, PMD     San Antonio    TX      (210)541-0700                        Dr. Tisdall is a well thought of anesthesia trained pain management physician. He is respected by his peers in San Antonio and by other
                                                                                                                               members of the Texas Pain Society. He would be an asset to our speakers bureau.
Upadhyay, Asit          Pain          York           PA      717-718-9459                                                   Director of York Rehab and Pain Consultants, privlages within Well Span Health network.
Wynn, Brenton           PMD                          CA
                                      San Diego                                                                  Dr. Wynn is skilled with opioids and would be a great addtion for local programs in the San Diego market.
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                                                                        AMFE
Speaker Name      Specialty   City              State Office Phone     Territory Fentora Class
Columbus, David   ANES PAIN   New Port Richey    FL   (727) 846 7618   81140000 Regional

Huang Charles     PMD         Wellington         FL   (561) 791 1141   81140000 Regional

Litman Steven     ANES PAIN   Bay Shore          NY   (631) 665 0075   81110000 Local

Melvin Eugene     ANES PAIN   Orlando            FL   (407) 649 7800   81140000 Local

Miliman Angela    FM PAIN     BALTIMORE          MD                    81130000 National Non Physician

Muresan Carmen    PAIN        Miami              FL   (217) 413 1116   81140000 Local

Pociask Stephen   PMD          harlotte          NC   (704) 512 4469   81130000 Regional

Sun Kenneth       PAIN        Wind Gap           PA   (610) 863 8598   81110000 Local

Whitten Thomas    PAIN PMM    Greensburg         PA   (724) 600 0607   81120000 Regional
   Case: 1:17-md-02804-DAP Doc #: 2251-92 Filed: 08/13/19 24 of 24. PageID #: 352315


Fentora                          Amrix   Amrix      * Total    YTD
Programs        Soft Delete      Class   Programs   Programs   Honoraria Add Date
     1     2   11 11 Usage; to                0          1        $1 500 00 1/4/2006
               reduce bureau
    0      2   11 11 Usage; to               0          0            $0 00    10/6/2006
               reduce bureau
    1      2   11 11 Usage; to               0          1         $1 000 00   3/21/2007
               reduce bureau
    2      2   11 11 Usage; to               0          2         $2 000 00   6/18/2009
               reduce bureau
    0      2   11 11 Usage; to               0          0            $0 00     9/7/2010
               reduce bureau
    3      2   11 11 Usage; to               0          3         $3 000 00    7/7/2009
               reduce bureau
    0      2   11 11 Usage; to               0          0            $0 00    2/28/2007
               reduce bureau
    1      2   11 11 Usage; to               0          1         $1 000 00   7/26/2007
               reduce bureau
    1      2   11 11 Usage; to               0          1         $1 500 00    1/1/2004
               reduce bureau
